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                          Exhibit 8
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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF LOUISIANA

In Re: Oil Spill by the Oil Rig "Deepwater                    MDL NO. 2179
   Horizon" in the Gulf of Mexico, on April
   20, 2010                                                   SECTION J

This document relates to all actions.
                                                              HONORABLE CARL J.
                                                              BARBIER

                                                              MAGISTRATE JUDGE
                                                              SHUSHAN


Bon Secour Fisheries, Inc., et al., individually              Civil Action No. 12-970
and on behalf of themselves and all others
similarly situated,                                           SECTION J

     Plaintiffs,
                                                              HONORABLE CARL J.
V.                                                            BARBIER
                                                    *
BP Exploration & Production Inc; BP                           MAGISTRATE JUDGE
America Production Company; BP p.l.c.,                        SHUSHAN

      Defendants.
                          DECLARATION OF RICHARD C. GODFREY

          I, Richard C. Godfrey, do hereby declare that the following statements made by me under

oath are true and accurate to the best of my knowledge and belief:

                                        INTRODUCTION

           1.      I am counsel for BP Exploration & Production Inc. and BP America Production

Company, along with the other BP entities who have been named as defendants in the above-

captioned litigation (collectively, "BP"). I am over the age of 18, have been licensed to practice

law since 1979 (Illinois admission), and am a senior partner of Kirkland & Ellis LLP. The focus

of my practice for over 30 years has been complex litigation, including representing corporate
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defendants in the trial and appellate courts in multiple putative class actions. I make this

Declaration based upon my own personal knowledge, except where otherwise indicated.

        2.     The Economic Loss and Property Damages Settlement Agreement ("Settlement

Agreement") before the Court is the result of many months of arms-length negotiations between

counsel representing the Plaintiffs' Steering Committee ("PSC") and counsel for BP

(collectively, the "Parties"). These negotiations first commenced in or about the first half of

2011 and concluded in April 2012. I personally participated in the settlement discussions and the

negotiations as the lead outside counsel for BP.

        3.     Representing the PSC in these negotiations were attorneys with significant

collective class action and complex litigation experience. Attorneys principally involved in the

economic loss and property negotiations included Mr. Calvin Fayard and Ms. Caroline Fayard of

Fayard & Honeycutt; Mr. Joseph Rice, Mr. Frederick Baker, and Mr. John Baden of Motley Rice

LLC; Mr. James Roy of Domengeaux, Wright, Roy & Edwards, L.L.C; Mr. Stephen Herman of

Herman, Herman, Katz & Cotlar L.L.P; Ms. Elizabeth Cabraser of Lieff, Cabraser, Heimann &

Bernstein; Mr. Rhon Jones and Mr. John Tomlinson of Beasley, Allen, Crow, Methvin, Portis &

Miles, P.C.; and Mr. Brian Barr of Levin Papantonio Thomas Mitchell Rafferty & Proctor, P.A.

In addition, there were other lawyers for or associated with the above-named counsel working

with them.

       4.      Representing BP in these negotiations were attorneys and representatives from BP

and multiple law firms with significant class action and complex litigation experience. Those

principally involved in the economic loss and property negotiations include, in addition to myself

and others, Mr. John Lynch, Deputy General Counsel of BP plc; Mr. Lamar McKay, Chairman

and President of BP America, Inc.; Mr. James Neath, BP's Global Head of Litigation; Mr. Mark



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Holstein, Managing Attorney, Gulf Coast Restoration Organization, BP; Ms. Wendy Bloom, Mr.

Jeffrey Clark, Ms. Catherine Fitzpatrick, Mr. Daniel Laytin, Mr. Christopher Heck, Mr.

Christopher Esbrook, Mr. Christopher Keegan, Mr. Charles Douglas, Mr. David Tressler, Ms.

Esty Lobovits, Ms. Christina Henk, and Mr. Martin R. Martos II of Kirkland & Ellis LLP; Mr.

Daniel Cantor, Mr. Andrew Karron, Ms. Sarah Warlick, and Mr. Brett Marston of Arnold &

Porter LLP; Mr. Jeffrey Lennard, Mr. Steven Levy, Mr. Mark Hanover, and Mr. Keith

Moskowitz of SNR Denton; and Mr. Keith Jarrett and Mr. Gene Fendler of Liskow & Lewis. In

addition, there were other lawyers for or associated with the above-named counsel working with

them.

        5.     Since settlement negotiations began in the first half of 2011, the Parties have met

numerous times. They also have had many telephone conversations, and multiple simultaneous

conferences and meetings to negotiate the terms of the Settlement Agreement.

                                  NEGOTIATION HISTORY

        6.     In early January 2011, Mr. Calvin Fayard on behalf of the PSC contacted Mr.

Thomas Yannucci, a partner of Kirkland & Ellis LLP ("Kirkland"), whom Mr. Fayard knew

from prior matters and who works out of Kirkland's Washington, D.C. office. Mr. Fayard asked

Mr. Yannucci to arrange for an introduction to meet with me as the Kirkland partner who is BP's

counsel in the matters arising out of the Deepwater Horizon incident.

        7.     Mr. Fayard and I then met, and had dinner at Mr. Fayard's house in New Orleans

on the evening of Friday, February 18, 2011. Also in attendance at the dinner were Mr. Fayard's

daughter, Caroline (another counsel for the PSC), and Mr. Fayard's wife, Frances. While most

of the dinner conversation did not involve the possibility of settlement, there was a short period

of time when Mr. Fayard and I were alone, and Mr. Fayard inquired as to whether BP would be

interested in discussing settlement with the PSC. I responded by stating that BP was always

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willing to listen. Mr. Fayard asked who at BP the PSC should be dealing with; I replied that at

least initially, any settlement discussions should be with me and with Mr. James Neath, BP's

Global Head of Litigation. I, in turn, asked Mr. Fayard who from the PSC would lead any

settlement discussions, and Mr. Fayard replied that it would be himself, supported by others.

       8.      A second meeting to discuss the possibility of engaging in settlement discussions

occurred on March 23, 2011 in a private dining room at the Commander's Palace restaurant in

New Orleans. In attendance at this dinner were Mr. Fayard and Mr. Joseph Rice, also counsel

for the PSC. On behalf of BP, Mr. Neath and I attended the dinner.

       9.      On May 19-20, 2011, Mr. Fayard and Mr. Rice, as well as Mr. Stephen Herman

and Mr. James Roy from the PSC, met with Mr. Neath and me in New Orleans to discuss the

possibility of settlement. Ms. Wendy Bloom, a partner at Kirkland, joined us for this

meeting.

       10.     On June 8-9, 2011, Mr. Fayard and Mr. Rice travelled to London, England to

engage in settlement discussions with me, Mr. Neath, and Ms. Bloom. They were joined at times

by Mr. Herman and Mr. Roy.

       11.     On June 21, 2011, Mr. Fayard, Mr. Rice, and Mr. Fred Baker of Motley Rice LLC

met with Ms. Bloom and Mr. Andrew Bloomer, another Kirkland partner, at Kirkland's

Washington D.C. offices. At this meeting, the Parties continued their settlement discussions.

Mr. Neath and I were not in attendance at this meeting, as we both were in London for

depositions in this matter. Ms. Bloom and Mr. Bloomer informed me of the details regarding

this settlement meeting. The Parties also signed a settlement discussion confidentiality

agreement.




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        12.    On June 27-30, 2011, Messrs. Fayard and Rice from the PSC met again with Ms.

Bloom, Mr. Bloomer, Mr. Neath, and me to discuss settlement. These meetings occurred in

London, England at the offices of Sullivan & Cromwell LLP.

        13.    On July 2, 2011, Mr. Fayard and I engaged in additional discussions concerning a

possible settlement when we met at the Bristol Hotel in Paris, France.

        14.    The Parties next met for the purpose of settlement discussions at Kirkland's

offices in Chicago, Illinois on July 13-14, 2011. As part of the economic loss and property

settlement discussions, Mr. Fayard, Mr. Rice, Mr. Roy, and Mr. John Baden of Motley Rice LLC

attended on the PSC's behalf. Ms. Bloom, as well as Mr. Jeffrey Clark, Ms. Catherine

Fitzpatrick, Mr. Charles Douglas, and Ms. Christina Henk—all from Kirkland—attended on

BP's behalf. Mr. Daniel Cantor of Arnold & Porter also attended for BP. Mr. Neath and I were

not in attendance at these meetings. Ms. Bloom informed me regarding these settlement

meetings.

       15.     On July 19-21, 2011, the Parties reconvened at Kirkland's offices in Chicago,

Illinois to continue settlement discussions. Attendees included Mr. Rice, Mr. Baden, Mr. Rhon

Jones of Beasley, Allen, Crow, Methvin, Portis & Miles, P.C., and Mr. John Tomlinson of

Beasley, Allen, Crow, Methvin, Portis & Miles, P.C. for the PSC. On behalf of BP, Ms. Bloom,

Mr. Douglas, Mr. Cantor, and Mr. Mark Holstein of BP attended the meetings. Mr. Neath and I

were not in attendance, as we continued to be in London. Ms. Bloom informed me regarding

these settlement meetings.

       16.     On July 26-28, 2011, the Parties met at Kirkland's offices in Washington, D.C. to

continue settlement negotiations. Attendees included Messrs. Fayard, Rice, Baden, Jones, and

Tomlinson for the PSC. On behalf of BP, Ms. Bloom, Mr. Douglas, and Mr. Holstein attended



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the meetings. I continued to be in London during this time period. Once again, Ms. Bloom

informed me regarding these settlement meetings, which I did not attend.

       17.     The Parties met again to engage in settlement negotiations on August 2-4, 2011 at

Kirkland's offices in New York, New York. Attendees included Messrs. Fayard, Rice, Herman,

Roy, Baden, Jones, and Tomlinson for the PSC. On behalf of BP, I, along with Mr. Neath, Ms.

Bloom, Mr. Douglas, Mr. Cantor, and Mr. Jeffrey Lennard of SNR Denton, attended the

meetings.

       18.     On August 9-11, 2011, the Parties continued their negotiations at Kirkland's

offices in Chicago, Illinois. Attendees included Messrs. Fayard, Rice, and Baden for the PSC.

On behalf of BP, Mr. Neath and I, along with Ms. Bloom, and Messrs. Douglas, Holstein,

Cantor, and Lennard, attended the meetings.

       19.     On August 16-18, 2011, the Parties met to discuss settlement at Kirkland's offices

in New York. Attendees included Messrs. Fayard, Rice, Jones, and Tomlinson for the PSC. On

behalf of BP, Mr. Neath and I, along with Ms. Bloom, Mr. Douglas, Mr. Holstein, Mr. Cantor,

Mr. Lennard, Mr. Keith Moskowitz of SNR Denton, and Mr. Martin Martos of Kirkland,

attended the meetings.

       20.     On August 23-25, 2011, the Parties reconvened at Kirkland's New York offices to

continue their settlement discussions. Attendees included Messrs. Fayard, Rice, and Baden for

the PSC. On behalf of BP, Mr. Neath and I, along with Ms. Bloom, and Messrs. Clark, Douglas,

Holstein, Cantor, Lennard, Moskowitz, and Martos, attended the meetings.

       21.     On August 29-September 1, 2011, the Parties met to discuss settlement at

Kirkland's offices in Washington, D.C. Attendees for the PSC included Messrs. Fayard, Rice,

Baden, Jones, and Tomlinson. On behalf of BP, Mr. Neath and I, along with Ms. Bloom, and



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Messrs. Douglas, Holstein, Cantor, Clark, Lennard, Moskowitz, Martos, and Ms. Sarah Warlick

of Arnold & Porter, attended the meetings.

       22.     On September 8-9, 2011, the Parties returned to Kirkland's New York offices to

continue their settlement discussions. Attendees at the meetings included Messrs. Fayard, Rice,

and Baden for the PSC. On behalf of BP, Mr. Neath and I, along with Ms. Bloom and Messrs.

Douglas, Holstein, Cantor, Lennard, Moskowitz, and Martos, attended the meetings.

       23.     On September 14-16, 2011, the Parties continued their settlement discussions in

conference rooms at the Royal Sonesta Hotel in New Orleans, Louisiana. Attendees included

Messrs. Fayard, Rice, Roy, Jones, and Tomlinson for the PSC. On behalf of BP, Mr. Neath and

I, along with Ms. Bloom, and Messrs. Douglas, Holstein, Cantor, Lennard, Moskowitz, and

Martos, attended the meetings.

       24.     The Parties next met to discuss settlement on September 21, 2011 at Kirkland's

Chicago offices. Attendees included Mr. Fayard and Mr. Rice for the PSC. For BP, Mr. Neath

and I attended the meeting, along with Ms. Bloom, and Messrs. Douglas, Holstein, Cantor,

Lennard, Moskowitz, and Martos.

       25.    On September 27-28, 2011, the Parties met at Kirkland's offices in Washington,

D.C. Attendees included Messrs. Fayard, Rice, Baden, Jones, and Tomlinson for the PSC. On

behalf of BP, Mr. Neath and I, along with Ms. Bloom, and Messrs. Douglas, Holstein, Cantor,

Lennard, Moskowitz, and Martos, attended the meetings.

       26.    On October 4, 2011, the Parties met again at Kirkland's offices in Washington,

D.C. As best as I recall after discussions with our team, attendees included Mr. Fayard and Mr.

Herman, among others, for the PSC. On behalf of BP, I, along with Ms. Bloom and Mr.

Lennard, among others, attended the meetings.



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       27.     On October 10-12, 2011, the Parties met to discuss settlement at Kirkland's

Chicago offices. Attendees included Mr. Fayard, Mr. Rice, Mr. Baden, Mr. Jones, and Mr.

Tomlinson for the PSC. On behalf of BP, Mr. Neath and I, along with Ms. Bloom, and Messrs.

Douglas, Holstein, Cantor, Lennard, Moskowitz, and Mr. Martos attended the meetings.

       28.    The Parties reconvened at Kirkland's offices in Chicago, Illinois on October 17-

18, 2011. Attendees for the PSC included Mr. Fayard, Mr. Rice, Mr. Herman, Mr. Baden, and

Ms. Elizabeth Cabraser of Lieff, Cabraser, Heimann & Bernstein. On behalf of BP, Mr. Neath

and I, along with Ms. Bloom, Mr. Douglas, and Messrs. Holstein, Cantor, Lennard, Moskowitz,

Martos, and Mr. Andrew Karron of Arnold & Porter, attended the meetings.

       29.    On October 26-27, 2011, the Parties met at Motley Rice's offices in Charleston,

South Carolina. Attendees included Mr. Fayard, Mr. Rice, Mr. Baden, Mr. Herman, Mr. Roy,

Mr. Jones, Mr. Tomlinson, Ms. Cabraser, and Mr. Brian Barr of Levin Papantonio Thomas

Mitchell Rafferty & Proctor, P.A. for the PSC. On behalf of BP, Mr. Neath and I, along with

Ms. Bloom, Mr. Douglas, Mr. Holstein, Mr. Cantor, Mr. Lennard, Mr. Moskowitz, Mr. Martos,

and Mr. Karron, attended the meetings.

       30.    The Parties continued their discussions at Kirkland's New York City offices on

November 1-3, 2011. Attendees included Mr. Fayard, Mr. Rice, Mr. Baden, Mr. Tomlinson, and

Ms. Cabraser for the PSC. On behalf of BP, Mr. Neath and I, along with Ms. Bloom, Mr.

Douglas, Mr. Holstein, Mr. Cantor, Mr. Lennard, Mr. Moskowitz, and Mr. Karron, attended the

meetings.

       31.    On November 8-10, 2011, the Parties met to discuss settlement in conference

rooms at the Westin Hotel in New Orleans, Louisiana. Attendees included Messrs. Fayard, Rice,

Baden, Jones, Tomlinson, and Ms. Cabraser for the PSC. On behalf of BP, Mr. Neath and I



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attended, along with Ms. Bloom, and Messrs. Douglas, Holstein, Cantor, Lennard, Moskowitz,

Karron, and Mr. Brett Marston of Arnold & Porter.

       32.     On November 15-17, 2011, the Parties met at Kirkland's offices in Washington,

D.C. Attendees included Mr. Fayard, Mr. Rice, Mr. Jones, Mr. Tomlinson, and Ms. Cabraser for

the PSC. On behalf of BP, Mr. Neath and I attended the meetings, along with Ms. Bloom, Mr.

Douglas, Mr. Holstein, Mr. Cantor, Mr. Lennard, Mr. Moskowitz, and Mr. Karron.

       33.     On November 21-22, 2011, the Parties met to discuss settlement at the offices of

Andrews Kurth LLP in Houston, Texas. Attendees included Mr. Fayard and Mr. Rice for the

PSC. On behalf of BP, Mr. Neath and I attended, joined by Ms. Bloom, and Messrs. Douglas,

Holstein, Cantor, Lennard, and Moskowitz.

       34.     On November 28-December 1, 2011, the Parties met at Kirkland's offices in

Washington, D.C. Attendees for the PSC included Messrs. Fayard, Rice, Herman, Baden, and

Ms. Cabraser. On behalf of BP, Mr. Neath and I attended, along with Ms. Bloom, Mr. Douglas,

Mr. Holstein, Mr. Cantor, Mr. Lennard, Mr. Moskowitz, and Mr. Karron.

       35.     On December 13-15, 2011, the Parties reconvened in conference rooms at the

Hyatt Regency Hotel in New Orleans, Louisiana. Attendees for the PSC included Messrs.

Fayard, Rice, Jones, Tomlinson and Ms. Cabraser. On behalf of BP, Mr. Neath and I, along with

Ms. Bloom, and Messrs. Douglas, Holstein, Cantor, Lennard, Moskowitz, Karron, Martos, and

Mr. Daniel Laytin of Kirkland, attended the meetings.

       36.    On December 19-22, 2011, the Parties returned to conference rooms at the Hyatt

Regency in New Orleans, Louisiana. Attendees at these meetings included Mr. Fayard, Mr.

Rice, Mr. Roy, Mr. Baden, and Ms. Cabraser and Ms. Fayard for the PSC. On behalf of BP, Mr.




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Neath and I attended, joined by Ms. Bloom, and Messrs. Douglas, Holstein, Cantor, Lennard,

Moskowitz, Karron, and Mr. Martos.

       37.    On December 27-29, 2011, the Parties continued negotiations at the Ritz-Carlton

Hotel conference rooms in New Orleans, Louisiana. Attendees for the PSC included Mr. Fayard,

Mr. Rice, Mr. Herman, and Mr. Roy. For BP, Mr. Neath and I, along with Messrs. Douglas,

Holstein, and Mr. Lennard, attended the meetings.

       38.    On January 4-6, 2012, the Parties returned to the Ritz Carlton conference rooms

in New Orleans, Louisiana. Attendees included Mr. Fayard, Ms. Fayard, Mr. Rice, Mr. Herman,

Mr. Roy, Mr. Baden, and Ms. Cabraser for the PSC. On behalf of BP, Mr. Neath and I, along

with Ms. Bloom, Mr. Douglas, Mr. Holstein, Mr. Lennard, and Mr. Karron, attended the

meetings.

       39.    The Parties met again for settlement discussions at the Ritz Carlton conference

rooms in New Orleans, Louisiana on January 11-13, 2012. Attendees for the PSC included Mr.

Fayard, Ms. Fayard, Mr. Rice, Mr. Herman, Mr. Baden, and Ms. Cabraser. On behalf of BP, Mr.

Neath and I, along with Ms. Bloom, and Messrs. Douglas, Holstein, Lennard, Cantor,

Moskowitz, and Karron, attended the meetings.

       40.    On January 17-20, 2012, the Parties continued negotiations at the Ritz Carlton

conference rooms in New Orleans, Louisiana. Attendees for the PSC included Mr. Fayard, Ms.

Fayard, Mr. Rice, Mr. Herman, Mr. Roy, Mr. Baden, and Ms. Cabraser. On behalf of BP, Mr.

Neath and I, along with Ms. Bloom, and Messrs. Douglas, Holstein, Lennard, Cantor,

Moskowitz, and Karron attended the meetings.

       41.    On January 24-27, 2012, the Parties returned to New Orleans, Louisiana and met

to discuss settlement at the Pan American Life Center conference rooms. Attendees for the PSC



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included Mr. Fayard, Ms. Fayard, and Messrs. Rice, Baden, and Ms. Cabraser. On behalf of BP,

Mr. Neath and I, along with Ms. Bloom, and Messrs. Douglas, Holstein, Lennard, Cantor,

Moskowitz, Karron, and Mr. Christopher Esbrook of Kirkland, attended the meetings.

       42.     On January 30-Fcbruary 2, 2012, the Parties again met to discuss settlement at the

Pan American Life Center conference rooms in New Orleans. Attendees for the PSC included

Messrs. Fayard, Rice, Baden, Jones, Tomlinson, and Ms. Cabraser and Ms. Fayard. For BP, Mr.

Neath and I, along with Ms. Bloom, and Messrs. Douglas, Holstein, Lennard, Cantor,

Moskowitz, Karron, Esbrook, and Martos, attended the meetings.

       43.    On February 7-10, 2012, the Parties reconvened at the Ritz Carlton conference

rooms in New Orleans. Attendees included Messrs. Fayard and Rice, along with Ms. Fayard and

Messrs. Herman, Roy, Baden, Jones, Tomlinson, and Ms. Cabraser for the PSC. On behalf of

BP, Mr. Neath and I, joined by Messrs. Douglas, Holstein, Lennard, Cantor, Karron, Moskowitz,

Esbrook, and Martos and Ms. Bloom, attended the settlement meetings.

       44.    From February 12 through March 2, 2012, the Parties returned to New Orleans,

Louisiana and continued their settlement negotiations at conference rooms in the Ritz Carlton

and Pan American Life Center. Negotiations during this time occurred almost daily.

Participants in these meetings included Mr. Fayard, Ms. Fayard, Mr. Rice, Mr. Herman, Mr.

Roy, Mr. Baden, Mr. Jones, Mr. Tomlinson, Ms. Cabraser, and Mr. Barr for the PSC. On behalf

of BP, Mr. Neath and I, along with Ms. Bloom, and Messrs. Douglas, Holstein, Clark, Lennard,

Cantor, Moskowitz, Karron, Esbrook, Martos, Marston, as well as for certain days Mr. John

Lynch and Mr. Lamar McKay of BP, and Messrs. Mark Hanover of SNR Denton and

Christopher Heck of Kirkland, attended the meetings.




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       45.     On February 26, 2012, the Court entered an Order adjourning the start of the

Phase I trial, scheduled to commence on February 27, 2012, until March 5, 2012 in order to

allow the Parties to continue the settlement discussions.

       46.     On the evening of March 2, 2012, the Parties reached a settlement in principle

regarding economic loss and property claims. That same day, the Court issued an Order

adjourning Phase I of the trial, which was scheduled to commence March 5, 2012.

       47.     On March 6-8, 2012, the Parties continued to meet to conclude their discussions

and reach a final, comprehensive settlement. The meetings took place in New Orleans,

Louisiana at the Pan American Life Center conference rooms. Attendees included Mr. Fayard,

Ms. Fayard, Mr. Rice, Mr. Herman, Mr. Roy, Mr. Baden, Mr. Jones, Mr. Tomlinson, and Ms.

Cabraser for the PSC. On behalf of BP, Mr. Neath and I, along with Ms. Bloom and Messrs.

Douglas, Holstein, Lennard, Cantor, Moskowitz, Karron, and Esbrook, attended the meetings.

       48.     On March 12-15, 2012, the Parties returned to New Orleans, Louisiana and met at

the Pan American Life Center conference rooms to continue negotiations. Attendees included

Mr. Fayard, Ms. Fayard, and Messrs. Rice, Herman, Roy, and Baden for the PSC. On behalf of

BP, Mr. Neath and I, along with Ms. Bloom, Mr. Douglas, Mr. Holstein, Mr. Lennard, Mr.

Cantor, Mr. Moskowitz, Mr. Karron, Mr. Esbrook, Mr. Martos, and Mr. Christopher Keegan,

Mr. David Tressler, and Ms. Esty Lobovits of Kirkland, attended the meetings.

       49.     On March 19-22, 2012, the Parties returned to New Orleans, Louisiana and met

once again at the Pan American Life Center conference rooms to continue their settlement

discussions. Attendees for the PSC included Messrs. Fayard, Rice, Herman, Roy, and Baden.

For BP, Mr. Holstein, Mr. Lennard, Mr. Cantor, Mr. Moskowitz, Ms. Bloom, Mr. Karron, Mr.




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Esbrook, Mr. Douglas, Mr. Martos, Mr. Keegan, Ms. Lobovits, Mr. Tressler, and I participated

in the discussions.

        50.    On March 26-30, 2012, the Parties returned to New Orleans, Louisiana and again

met at the Pan American Life Center conference rooms to continue negotiations. Attendees for

the PSC included Mr. Fayard, Ms. Fayard, Mr. Rice, Mr. Herman, Mr. Roy, Mr. Baden, Mr.

Jones, Mr. Tomlinson, and Ms. Cabraser. For BP, Mr. Neath, Mr. Holstein, Mr. Lennard, Mr.

Moskowitz, Ms. Bloom, Mr. Karron, Mr. Esbrook, Mr. Douglas, Mr. Martos, Mr. Keegan, Ms.

Lobovits, Mr. Tressler, and I participated in the discussions.

        51.    On April 2-6, 2012, the Parties reconvened at the Pan American Life Center

conference rooms in New Orleans. Attendees included Mr. Fayard, Ms. Fayard, Mr. Rice, Mr.

Herman, Mr. Roy, Mr. Baden, Mr. Jones, Mr. Tomlinson, and Ms. Cabraser for the PSC. For

BP, Mr. Holstein, Mr. Lennard, Mr. Moskowitz, Ms. Bloom, Mr. Karron, Mr. Esbrook, Mr.

Douglas, Mr. Martos, Mr. Keegan, Ms. Lobovits, Mr. Tressler, Mr. Hanover, Mr. Heck, and I

participated in the settlement discussions.

       52.     On April 7, the Parties held a telephone conference to continue their negotiations.

Attendees included Mr. Fayard, Mr. Rice, Mr. Herman, and Ms. Cabraser for the PSC. For BP,

Ms. Bloom, Mr. Lennard, Mr. Karron, Mr. Hanover, and I participated in the telephone

conference.

       53.     On April 9-18, 2012, the Parties returned to New Orleans, Louisiana and met once

again at the Pan American Life Center conference rooms to continue their discussion toward a

final, comprehensive settlement agreement. Attendees included Mr. Fayard, Ms. Fayard, Mr.

Rice, Mr. Herman, Mr. Roy, Mr. Baden, Mr. Jones, Mr. Tomlinson, Mr. Barr and Ms. Cabraser

for the PSC. For BP, Mr. Holstein, Ms. Bloom, Mr. Lennard, Mr. Clark, Mr. Moskowitz, Mr.



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Karron, Mr. Esbrook, Mr. Douglas, Mr. Martos, Mr. Keegan, Ms. Lobovits, Mr. Tressler, Mr.

Hanover, Mr. Heck, and I participated in the settlement discussions.

        54.     On the morning of April 18, 2012, the Parties finalized and signed the Economic

and Property Damages Settlement Agreement. The Parties filed the Settlement Agreement and

other papers seeking approval of the proposed settlement with the Court that same day.

        55.     Magistrate Judge Shushan was heavily involved in the settlement negotiations

between the PSC and BP. The Judge mediated the settlement, oversaw the negotiations through

their most critical stages, and met jointly and alone with each side multiple times over several

months. Judge Shushan's involvement and mediation was continuous over the last few months

of the negotiations. Since February 1, 2012, for example, the Judge personally met with and/or

had multiple telephone calls or conferences with BP's counsel and the PSC regarding settlement

on February 1, 2, 9, 11, 12, 13, 14, 18, 21, 22, 23, 24, 25, 28 and February 29, as well as on

March 1 and 2. Judge Shushan continued to supervise the settlement up and until the Parties

finalized and signed the Economic and Property Damages Settlement Agreement on April 18,

2012. On several occasions when the Judge was present, the settlement negotiation sessions

lasted all day and well into the night.

        56.     Other lawyers and staff working for BP's counsel and the PSC also attended

certain meetings discussed above. In this Declaration, I have included the names of those

lawyers principally involved in various settlement discussions.

        57.    When the Parties were not meeting face to face during the negotiation sessions

outlined above, they were in regular communication.




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       I make this Declaration under penalties of perjury pursuant to 28 U.S.C. § 1746, and I

state that the facts set forth herein are true to the best of my knowledge, belief, and information.




       Dated: August 13, 2012                                                        eoVtootias.
                                                               Richard C. Godfrey




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